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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION


   MISSOURI, KANSAS, and IDAHO,
                        Intervenor-Plaintiffs,
            v.                                                 Case No. 2:22-cv-00223-Z


   U.S. FOOD AND DRUG ADMINISTRATION, et al.,
                        Defendants,
            and
   DANCO LABORATORIES, LLC,
                        Intervenor-Defendant.


        [PROPOSED] ORDER GRANTING DANCO’S UNOPPOSED MOTION FOR
                  EXTENSION OF TIME TO FILE REPLY BRIEF

         Before the Court is Intervenor-Defendant’s unopposed motion for extension of time to file

  its reply brief (ECF No. 240), filed on March 3, 2025. Having considered the Motion, the Court

  GRANTS the Motion and ORDERS that Federal Defendants’ and Intervenor-Defendant’s

  deadlines to file their reply briefs in support of their motions to dismiss are hereby EXTENDED

  by a period of ___ days until ________, 2025.

         SO ORDERED.

  March ___, 2025                                __________________________
                                                 Honorable Matthew J. Kacsmaryk
                                                 United States District Judge
